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              IN THE DISTRICT COURT OE THE UNITED STATES
                    FOR THE DISTRICT OE SOUTH CAROLINA
                           CHARLESTON DTVISION


UNITED STATES OE AMERICA                                     Criminal No:   2: L9-628


                                                                     PtEA AGREB'{ENI
TERR]LL   HOSKINS

                                  Genera1 Provisions


     This   PLEA AGREEMENT           is   made          this Al          day         of ryl
20L9, between the United States of Arnerica,                            as      represented by
United States Attorney            SHERRI     A.         LYDON,    Assistant United States
Attoxney Jamie tea Schoeni the Defendant, TERRILL HOSKINS,                                      and

Defendant's attorney, Jackie Allen Mastantuno.
     IN   CONSIDERATION          of the mutual promises nade herein, the
part.ies agree as follows:
1.   The Defendant agrees to plead guilty to Count I of the
     Superseding Indictment now pending, which charges Conspiracy

     to Possess with Intent to Distribute and to Distribute                                          5

     Kilograms or More of Cocaine and a Quantity of Marijuana, in
     violation          of     2L U.S.C. SS 846, 841(b) (1) (A) ,                               and

     841 (b) ( 1) (D)   .


     In order to sustain its burden of proof, the Government is
required to prove the following:
                                          Count         1




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       A        There was an agreement between two or more persons to
                possess with intent to distribute and to distribute
                controlled substances as charged in Count 1i
       B.       The Defendant knowingfy and voluntarily               participated     j.n
                or became part of this agreement;
                The Defendant distributed a quantity of the controll,ed
                substances equal to or in excess of the amount charged
                in Count 1, agreed to assist in the distribution of a
                quantity of controlled substances equaf to or in excess
                of the amount charged in Count 1, or the distribution of
                the threshold quantity of controlled substances equaL
                to or in excess of the amount charged in Count l was
                reasonably foreseeable to the Defendant and same was
                within the scope of the Defendantrs agreement and
                understanding, that is, 5 kilogram or more of a mixture
                or substance containing a detectable amount of cocaine
                and a quantity of marijuana.

     Penalty, 2L U.S C. 841(b) (1) (A) , involving 5 kilograms or
more of a mixture or substance containing a detectable amount of
cocaine
       rmprisonment: not less than 10 years and not more than Life
       Supervised Release: 5 years
       Eine: $10, 000, 000.00
       Special Assessment: $100.00

2     The Defendant understands and agrees                   that monetary penalties
       Ii.e.,      specia] assessments, restitution,                 fines and other
      payments required under         the sentencel imposed by the Court
      are due and payable irunediately and subject to enforcement by
      the United States as civil judgments, pursuant to 18 U.S.C.
      S     3613. In the event the Court imposes a schedule for palment
      of restitution, the Defendant also understands that                        payments

      made    in   accordance   with instalfment schedules set by the Court

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   are minimum payments on.Ly and do not prec.Iude the              Government

   from seeking to enforce the judgment against other assets of
   the Defendant at any time, as provided in 18 U,S.c.                    SS 361-2,

   3613 and 366a (m) . The Defendant            further agrees to enter into
   the Bureau of Prisons Inmate Einancial"              Repayment Program        if
   sentenced to a term of incarceration with an unsat.isfied
   monetary   penalty.   The Defendant          further understands that        any

   monetary penalty imposed 1s not dischargeable 1n bankruptcy.
        A      Special Assessment: Pursuant to l8 U.S.C. S3013,
               the Defendant must pay a special assessment of
               $100.00 for each felony count for vrhich he is
               convicted. This special- assessment must be paid at
               or before the time of the guilty plea hearing or
               during participation in the Bureau of Prisons
               Inmate Einancial Repa)ment Prog.ram if this plea
               results in incarceration.
        B     Restitution: The Defendant agrees to make fu11
              restitution under 18 U.S.C. S 3556 in an amount to
              be determined by the Court at the time of
              sentencing, $rhich amount is not limited to the
              count (s) to which the Defendant pled guilty, but
              wilI include restitution to each and every
              identifiabl-e victim who may have been harmed by hls
              scheme or pattern of criminal activity, pursuant to
              18 U.S.C. S 3663. The Defendant agrees to cooperate
              fully with the Government in identifying alL
              victims. Upon demand, the Defendant shall submit a
              personal financial statement under oath and submj-t
              to interviews by the government and the U.S.
              Probation Office regarding the Defendantrs capacity
              to satisfy any fines or restitution. The Defendant
              expressly authorizes the U.S. Attorneyrs Office to
              inmediately obtain a credit report on the Defendant
              in order to evaluate the Defendant's abllity to
              satisfy any financial- obligation imposed by the
              Court. The Defendant understands that the Defendant
              has a continui-ng obligation to pay in full as soon


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                     as possible any financial obligation imposed by the
                     Court.
             C       Eines: The Defendant understands that the Court may
                     impose a fine pursuant to 18 U.S.C. SS 3571 and
                     3572.


3.      Provided the Defendant complies with all the terms of this
        Agreement, the United States agrees to move to dismiss the
        remaining counts of the Superseding Indictment Iand any other
        indictments under this numberl at sentencing. The Defendant
        understands that the Court may consider these dismissed
        counts as relevant conduct pursuant to                   S1B1   .3 of the United
        States Sentencing Cormission Guidelines.
4.      The Defendant understands that the obligations of the
        Government   within the Plea        Agreement are expressly contingent

        upon the Defendant's abiding by federal and state laws and
        complying with any bond executed in this case. In the event
        that the Defendant fails to comply with any of the provisions
        of this Agreement, either express or implied, the                     Government

        will have the right, at its sole election, to void all of its
        obligations under this Agreement and the Defendant will- not
        have any right to withd.raw his/her plea of guilty to the
        offense (s) enumerated herein.
                         Cooperation aad trorfeiture
5      The Defendant agrees         to be ful1y truthful and forthright with
        federal, state and loca1 1aw enforcement agencies                              by

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   providing fu11, complete and truthful information about aIl-
   crimina.I activities about which he/she has knowledge.                         The

   Defendant must provide ful1,                      complete and truthful
   debriefings about these unlawful activities and must fu1ly
   disclose and provide truthful information to the                    Government

   including any books, papers, or documents or any other items
   of evidentiary value to the investigation.                       The Defendant
   must al-so   testify fully   and   truthfully before any grand juries
   and at any trials or other proceedings if called upon to do
   so by the Government, subject to prosecution for perjury for
   not testifying truthfully.            The fail,ure of the Defendant to
   be fu11y truthful" and forthright at any stage wil1, at the
   sole election of the Government, cause the obligations of the
   Government    within this Agreement to               become   null and void.
   Further, it is expressly agreed that if the obligations of
   the Government within this Agreement               become nu],1 and     void   due

   to the lack of truthfuLness on the part of the Defendant, the
   Defendant understands that:
        A.      the Defendant will not be permitted to wi-thdraw
                his/her p.lea of guilty to the offenses described
                above   i
         B.     aI1 additional charges known to the Government may
                be filed in the appropriate district;
                the Government wiII argue for a maximum sentence
                for the offense to which the Defendant has pfeaded
                guilty; and

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                D   the Government wiIl use any and aIl- information and
                    testimony provided by the Defendant pursuant to
                    thls Agreement, o.r any prior proffer agreements, in
                    the p.rosecution of the Defendant of aIl charges.
6       The Defendant agrees      to submit to such polygraph examinations
        as may be requested by the Government and agrees that                     any

        such examinations sha]l be performed by a polygraph examiner
        seLected by the Government.             Defendant further agrees that
        his/her refusal to take or his/her failure to pass any such
        po   Iygraph examination to the Government's            satisfaction     wi 11

        result,     at the Government's sofe discretion,                    in    the
        obligations of the covernment within the Agreement becoming
        nuLl and void.
'7
        The Government agrees     that any sel f-incriminating information
        provided by the Defendant as a result of the cooperation
        required by the terns of this Agreement, although available
        to the Court, will not be used against the Defendant in
        deternining the Defendant's applicable guideline range for
        sentencing pursuant to             the United States Sentencing
        Commission    Guidelines. The provisions of this paragraph
        shal1 not be applied to restrict any such information:
               A    known to the Government            prior to the date of this
                    Agreement ;

               B    concerning the existence of prior convictions and
                    sentences i

                    in a prosecution for perjury or givlng a false
                    statement i

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              D      in the event. the Defendant breaches any of the                    terms
                     of the Pfea Agreement; or
             E       used to rebut any evidence or arguments offered by
                     or on behalf of the Defendant (including arguments
                     made or issues raised sua sponfe by the District
                     Court) at any stage of the criminal prosecution
                     (including bai1, t.ri-al, and sentencing)                  .

8.      Provided the Defendant cooperates pursuant to the provisions
        of this Plea Agreement, and that cooperation is                       deemed   by the
        Government as providing substantial assi.stance in                                the
        investigation or prosecution of                             another person, the
        covernment agrees       to   move   the Court for a             downward departure

        or reduction of sentence pursuant to United States Sentencing
        Commission Guidelines S 5K1           .1,         l-B   U.S.C. S 3553(e) g Eederal
        Rule of Criminal Procedure 35(b) .                         Any such motion by the
        Government   is not binding      upon the Court, and should the Court

        deny the motion, the Defendant                will have no right to withdraw
        his/her plea.
9.      The Defendant agrees         to voluntarily surrender to, and not to
        contest the forfeiture of any and alf assets and property, or
        portions thereof, which are subject to forfeiture pursuant to
        any provision of law, including but not limited to, property
       in the possession or control of the Defendant or Defendant, s
       nominees. SpecificalLy, the Defendant agrees to voluntarily
       surrender, and not contest the forfeiture of property


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   identified in the Indictment, and any forfeiture BiII of
   Particulars.
      With regard to each and every asset Iisted in the
   Superseding Indictment or seized in               a   reLated investigation
   or administrative, state, or local action, the                     Defendant

   stipulates and agrees:
      The Defendant agrees and consents to the forfeiture of
      these assets pursuant to any federal criminal, civil
      judicial or administrative forfeiture action.            The
      Defendant also hereby agrees E.o r^raive a1I constitutlonal,
      statutory and procedural challenges in any manner
      (including direct appea.I, habeas corpus, or any other
      means) to any forfeiture carried out in accordance with
      this Plea Agreement on any grounds, including that the
      forfeiture described herein constitutes an excessive fine,
      was not properl-y noticed in the charging instrument,
      addressed by the Court at the time of the guilty p1ea,
      announced at sentencinq, or incorporated into the judgment.

     To its forfeiture herein, if necessary as substitute
     property under 21 U.S.C. S 853(p), as made applicable by
     tg U.S.C. S 982(b) (1) or any other statute, or in a separate
     administrative or civiL judicial proceeding.
     That the Defendant has or had a possessory interest
     other legal interest in each item or property.
     To assist the United States in the recovery of a1l- assets
     by (i) taking whatever steps are necessary or requested by
     the United States to pass clear title to the United States;
      (ii) preventing the disbursement of any moneys and sale of
     any property or assetsi (iii)         not encumbering or
     transferring any real estate after the Defendant, s signing
     of this Pl-ea Agreementi and (iv) directing aIl financial
     institutions to turn over and surrender to the United
     States all- funds and records regarding accounts l-isted in
     any document signed by the Defendant pursuant to this plea
     agreement, as criminal proceeds or substitute property.
     The Defendant waives all rights to notice of forfeiture
     under RuLe 32.2 and of any other action or proceeding

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     regarding such assets. The Defendant consents and waives
     aII rights to compliance by the Uni-ted States with any
     appficable deadlines under 18 U.S,C. S 983(a) . Any related
     administrative claim filed by the Defendant j,s hereby
     withdrawn   .


     Pursuant to Rule 32.2l.b) (4), the Defendant agrees that the
     preliminary order of forfeiture will satisfy the notice
     requirement and wil-f be final as to the Defendant at the
     time it is entered. In the event the forfeiture is omitted
     from the judgment, the Defendant agrees that the forfeiture
     order may be incorporated into the written j udgment at any
     time pursuant to RuIe 36.
     If the United States discovers that the Defendant has not
     fuIIy disclosed aIl assets, the united states may
     forfeiture of any subsequent ly-discovered assets, and the
     Defendant agrees to the immediate forfeiture of any such
     assets.
     The Defendant further agrees to make a full and complete
     disc.Losure of a]l- assets over which Defendant exercises
     controf and those which are heLd or controfled by nominees.
     The Defendant agrees that Federal Rule of Criminal
     Procedure 11 and S 181".8 of the Unj-ted States Sentencing
     Cornrnission Guidelineswill not protect from forfeiture,
     assets discfosed by the Defendant as part of his/her
     cooperation. The Defendant further agrees to submit to a
     polygraph examination on the issue of assets if it is
     deemed necessary by the United States.

     The Defendant agrees to waive any double jeopardy claims
     the Defendant may have as a result of a forfeiture
     proceeding against any of these properties as provided for
     by this Plea Agreement and agrees to viaive any claims that
     the forfeiture described herein constitutes an excessive
     fine.
     Eorfeiture of the Defendant's assets shall not be treated
     as satisfaction of any fine, restitution, cost of
     imprisonment, o.r any other penal-ty the Court may impose
     upon the Defendant in addition to forfeiture. The United
     States may use the value of forfeited property for
     restitution, but ls not required to do so.
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10. The Defendant represents to the court that he/she has                             met

    with his/her attorney on a sufficient                 number   of occasions       and

    for a sufficient period of time to discuss the Defendant's
    case and receive advice;        that the Defendant has been truthful
    with his/her attorney and related all information of                            which

    the Defendant is aware pertalning to the casei that the
    Defendant and      his attorney have discussed possible defenses,
    if   any,    to the charges in the Indictment including the
    existence     of any exculpatory or favorable evidence or
    wiCnesses, discussed        the Defendant's right to a public trial
    by jury or by the Court, the right to the assistance of
    counsel throughout the proceedings, the right to calI
    witnesses in the Defendant's behalf and compef their
    atEendance at trial by subpoena, the right to confront and
    cross-examine the Government ' s witnesses, the Defendant's
    right to testify in his own behalf, or to remain silent and
    have no adverse inferences drawn from his/her silence; and
    that the Defendant, with the advice of counsel, has weighed
    the relative benefits of a trial by jury or by the Court
    versus a plea of guilty pursuant to this Agreement, and has
    entered     this   Agreement as       a matter of the Defendant's free
    and vol-untary choice, and not as                   a result of pressure or
    intimidation by any person.


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11. The Defendant is aware that             18     U.S.C. S 3742 and 28 U.S.C.           S

      2255 afford every defendant certain rights to contest                              a

      conviction and/or sentence.            Acknowledging those          rights, the
      Defendant, in exchange for the concessions made by the
      Government   in this   PIea Agreement, waives the           right to contest
      either the conviction or the sentence in any direct                   appeal, or

      other post -convictj"on acti.on, including any proceedings under
      28 U.S.C. S 2255, This waiver does not apply to claims of
      ineffective assistance of counsel, prosecutorial misconduct,
      or future changes in the l-aw that affect the Defendant's
      sentence. This agreement does not affect the rights or
      obligations of the      Government           as set forth in 18 U.S.C.             S

      3742(bl   . Nor does it limit the            Government   in its    comments   in
      or responses to any post-sentencing matters,
L2.   The Defendant waives     aII rights, whether asserted directly or
      by a representative, to request or receive from any department
      or agency of the United States any records pertaining to the
      investigation or prosecution of this case, including lrithout
      Iimitation any records that           may be sought under          the   Freedom

      of Informatlon Act, 5 U.S.C. S 552, or the privacy Act of
      1-974,5U.S.C.S552a.
13. The parties hereby agree that t.his p]ea Agreement contains
    the entire agreement of the parties; that this Agreement
      supersedes a1I   prior promises, representations and statements
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    of the partiesi that this Agreement shall not be bi.nding                  on

            until the Defendant tenders a plea of guilty to the
    any party
    court having jurisdiction over this matter; that this
    Agreement may    be modified only in writing signed by alI
    partiesi and that any and all other promises, representations
    and statements, whether made prior to, contemporaneous with
    or after this Agreement, are null and void.

      rulerlao r
    Date                              R]LL HO       KINS
                                  De fendant

     Pflwn
    Date                          ..racki e    Allen Mastantuno, Esquire
                                  Defense Attorney


                                 SHERR] A,         LYDON
                                 UNITED S                  ORNEY

    tolzr lzora
    Dat                               eLe ch oen (Eed. ID # 11386)
                                   ssistan tU nited States Attorney




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